   Case 22-00162-JJG-13          Doc 21      Filed 03/18/22    EOD 03/18/22 11:16:07   Pg 1 of 5 01-2022
                                                                                 3015-1Model13Plan

                             UNITED STATES BANKRUPTCY COURT
                                      Southern District of Indiana

                                                         )
                                                         )
In re: Randall Scott Stansbury                           )           Case No.       22-00162
                                 Debtor(s)               )                           (xx-xxxxx)



                                       CHAPTER 13 PLAN
                                                ✔   Original




1. NOTICE TO INTERESTED PARTIES:
   The Debtor must check one box on each line to state whether or not the plan includes each of the
   following items. If an item is checked as "Not Included", if neither box is checked, or if both boxes
   are checked, the provision will be ineffective if set out later in the plan.
   1.1 A limit on the amount of a secured claim, pursuant to
   paragraph 8(c), which may result in a partial payment or no                  Included    ✔   Not Included
   payment at all to the secured creditor.
   1.2 Avoidance of a judicial lien or nonpossessory, non-purchase
   money security interest. Any lien avoidance shall occur by separate          Included    ✔   Not Included
   motion or proceeding, pursuant to paragraph 12.
   1.3 Nonstandard provisions, set out in paragraph 15.                         Included    ✔   Not Included

2. GENERAL PROVISIONS:
   (a) Your Rights May be Affected: Read these papers carefully and discuss them with your
   attorney. If you oppose any provision of this plan, you must file a timely written objection. This
   plan may be confirmed without further notice or hearing unless a written objection is filed before the
   deadline stated on the separate Notice you received from the Court.
   (b) Proofs of Claim: You must file a proof of claim to receive distributions under the plan. Absent
   a Court order determining the amount of the secured claim, the filed proof of claim shall control as
   to the determination of pre-petition arrearages; secured and priority tax liabilities; other priority
   claims; and the amount required to satisfy an offer of payment in full. All claims that are secured by
   a security interest in real estate shall comply with the requirements of Federal Rule of Bankruptcy
   Procedure (“FRBP”) 3001(c)(2)(C).
   (c) Notices Relating to Mortgages: As required by Local Rule B-3002.1-1, all creditors with
   claims secured by a security interest in real estate shall comply with the requirements of FRBP
   3002.1 (b) and (c) without regard to whether the real estate is the Debtor's principal residence. If
   there is a change in the mortgage servicer while the bankruptcy is pending, the mortgage holder
   shall file with the Court and serve upon the Debtor, Debtor’s counsel and the Chapter 13 Trustee
   (“Trustee”) a Notice setting forth the change and providing the name of the new servicer, the
   payment address, a contact phone number and a contact e-mail address.




                                                     1
   Case 22-00162-JJG-13         Doc 21     Filed 03/18/22      EOD 03/18/22 11:16:07         Pg 2 of 5

   (d) Notices (Other than those Relating to Mortgages): Non-mortgage creditors in paragraph 8(c)
   (whose rights are not being modified) or in paragraph 11 (whose executory contracts/unexpired
   leases are being assumed) may continue to mail customary notices or coupons to the Debtor or the
   Trustee notwithstanding the automatic stay.
   (e) Equal Monthly Payments: As to payments required by paragraphs 7 and 8, the Trustee may
   increase the amount of any “Equal Monthly Amount” offered to appropriately amortize the claim.
   The Trustee shall be permitted to accelerate payments to any class of creditor for efficient
   administration of the case.
   (f) Payments Following Entry of Orders Lifting Stay: Upon entry of an order lifting the stay, no
   distributions shall be made on any secured claim relating to the subject collateral until such time as a
   timely amended deficiency claim is filed by such creditor and deemed allowed, or the automatic stay
   is re-imposed by further order of the Court.

3. SUBMISSION OF INCOME: Debtor submits to the supervision and control of the Trustee
   all or such portion of future earnings or other future income or specified property of the Debtor as is
   necessary for the execution of this plan.

4. PLAN TERMS:
   (a) Payment and Length of Plan: Debtor shall pay $ 2000.00 monthly
   to the Trustee, starting not later than 30 days after the order for relief, for 60 months,
   for a total amount of $120,000         .
   Additional payments to Trustee and/or future changes to the periodic amount proposed are:
   None.



   (b) Increased Funding: If additional property comes into the estate pursuant to 11 U.S.C.
   §1306(a)(1) or if the Trustee discovers undisclosed property of the estate, then the Trustee may
   obtain such property or its proceeds to increase the total amount to be paid under the plan.
   However, if the Trustee elects to take less than 100% of the property to which the estate may be
   entitled OR less than the amount necessary to pay all allowed claims in full, then a motion will be
   filed, and appropriate notice given.

   (c) Curing Defaults: If Debtor falls behind on plan payments or if changes to the payments owed to
   secured lenders require additional funds from the Debtor's income, the Debtor and the Trustee may
   agree that the Debtor will increase the periodic payment amount or that the time period for making
   payments will be extended, not to exceed 60 months. Creditors will not receive notice of any such
   agreement unless the total amount that the Debtor will pay to the Trustee decreases. Any party may
   request in writing, addressed to the Trustee at the address shown on the notice of the meeting of
   creditors, that the Trustee give that party notice of any such agreement. Agreements under this
   section cannot extend the term of the plan more than 6 additional months.

   (d) Other Plan Changes: Any other modification of the plan shall be proposed by motion pursuant
   to 11 U.S.C. §1329. Service of any motion to modify this plan shall be made by the moving party as
   required by FRBP 2002(a)(5) and 3015(h), unless otherwise ordered by the Court.

5. PAYMENT OF ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR'S
   ATTORNEY FEES):
       NONE

                                                    2
  Case 22-00162-JJG-13 Doc 21 Filed 03/18/22 EOD 03/18/22 11:16:07 Pg 3 of 5
  All allowed administrative claims will be paid in full by the Trustee unless the creditor
  agrees otherwise.
                                                           Scheduled
          Creditor                Type of Claim
                                                            Amount
   Consumer Law
                          Attorney Fees in this Case        1750.00
   Attorneys
6. PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:
 (a) Ongoing Domestic Support Obligations:
  ✔   NONE
  (b) Domestic Support Obligation Arrears:
  ✔   NONE
7. PAYMENT OF MORTGAGES RELATING SOLELY TO THE DEBTOR'S
   PRINCIPAL RESIDENCE:
      NONE
  (a) Claims Covered: Only consensual mortgages on the principal residence are treated under this
  paragraph. All other secured claims should be treated under paragraph 8.
  (b) Pre-Petition Arrearage: As required by Local Rule B-3015-1(d), if there is a pre-petition
  arrearage claim on a mortgage secured by the Debtor's principal residence, then both the pre-petition
  arrearage and the post-petition mortgage installments shall be made through the Trustee. Initial
  post-petition payment arrears shall be paid with secured creditors. If there are no arrears, the Debtor
  may pay the secured creditor directly.
  (c) Treatment: Before confirmation, the payment to the mortgage lender shall be the regular
  monthly mortgage payment unless otherwise ordered by the Court or modified pursuant to an
  agreement with the mortgage lender. After confirmation, payment shall be as set forth below. Equal
  Monthly Amount and Estimated Arrears listed below shall be adjusted based on the filed claim and/
  or notice.

                                                           Estimated     Equal Monthly     Mortgage
          Creditor              Residential Address
                                                            Arrears        Amount          Treatment

   FCI Lender Services 1006 Supernova Dr                                                  Trustee pay
                                                           29731.82        1260.00
   Inc                 Franklin, IN 46131                                                 Direct pay
  No late charges, fees or other monetary amounts shall be assessed based on the timing of any payments
  made by the Trustee under the provisions of the Plan, unless allowed by Order of the Court.


  (d) Escrow Surplus: An escrow surplus arising as to a mortgage paid by the Trustee shall be
  returned to the Trustee by the mortgage lender or servicer within 30 days of the completion of an
  annual escrow analysis or other review that determines a surplus. The Trustee shall file and serve on
  the Debtor and claimants a Notice of Proposed Distribution of the escrow surplus, provide a 30-day
  Objection Notice and file a Certificate of Service. If no response is timely filed, the Trustee may
  treat the escrow surplus as set forth in the Notice of Proposed Distribution.




                                                      3
  Case 22-00162-JJG-13          Doc 21      Filed 03/18/22     EOD 03/18/22 11:16:07            Pg 4 of 5
8. PAYMENT OF SECURED CLAIMS OTHER THAN CLAIMS TREATED
   UNDER PARAGRAPH 7:
  (a) Claims Covered: Secured claims not treated under paragraph 7 are treated under this paragraph,
  including but not limited to delinquent real estate taxes; homeowners' association or similar dues
  with secured status; sewer liens, and judgment liens that are not being fully avoided under paragraph
  12. Claims secured by personal property are treated in subparagraphs (b) and (c). Treatment of other
  secured claims is provided for in subparagraph (d).
  (b) Claims Secured by Personal Property as to Which 11 U.S.C. § 506 Valuation Is Not Applicable:
  ✔   NONE
 (c) Claims Secured by Personal Property as to Which 11 U.S.C. § 506 Valuation Is Applicable:
  ✔  NONE
 (d) Payment of Other Secured Claims:
  ✔  NONE
 (e) Surrendered/Abandoned Collateral:
  ✔   NONE
9. SECURED TAX CLAIMS AND 11 U.S.C. § 507 PRIORITY CLAIMS:
      NONE
  All allowed secured tax obligations shall be paid in full by the Trustee, inclusive of statutory interest
  thereon (whether or not an interest factor is expressly offered by plan terms). All allowed priority
  claims shall be paid in full by the Trustee, exclusive of interest, unless the creditor agrees otherwise.
                                 Type of Priority or
          Creditor                                         Scheduled Debt                 Treatment
                                  Secured Claim

   IRS                    Priority 1040 Taxes                  1710         Pay in Plan

10. NON-PRIORITY UNSECURED CLAIMS:
 (a) Separately Classified or Long-term Debts:
  ✔ NONE

 (b) General Unsecured Claims:
      Pro rata distribution from any remaining funds; or
      Other:

11. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:
  All executory contracts and unexpired leases are REJECTED, except the following, which are
  assumed. Click here to list assumed leases.
12. PARTIAL OR COMPLETE AVOIDANCE OF LIENS:
  ✔   NONE
13. LIEN RETENTION:
  With respect to each allowed secured claim provided for by the plan, the holder of such claim shall
  retain its lien securing such claim until the earlier of a) the payment of the underlying debt
  determined under non-bankruptcy law or b) entry of a discharge order under 11 U.S.C. §1328.




                                                       4
    Case 22-00162-JJG-13         Doc 21     Filed 03/18/22        EOD 03/18/22 11:16:07              Pg 5 of 5
14. VESTING OF PROPERTY OF THE ESTATE:
   Except as necessary to fund the plan or as expressly retained by the plan or confirmation order, the
   property of the estate shall revest in the Debtor upon confirmation of the Debtor's plan, subject to
   the rights of the Trustee, if any, to assert claim to any additional property of the estate acquired by
   the Debtor post-petition pursuant to operation of 11 U.S.C. §1306.

15. NONSTANDARD PROVISIONS:
     ✔   NONE

Date: 3/18/2022                                 /s/ Randall Scott Stansbury
                                                Signature of Debtor
                                                Randall Scott Stansbury
                                                Printed Name of Debtor


                                                Signature of Joint Debtor


                                                Printed Name of Joint Debtor
                                                /s/ Ryan P Worden
                                                Signature of Attorney for Debtor(s)

                                                Address:                 1111 E 54th St, Suite 120




                                                City, State, ZIP code:   Indianapolis, IN 46220

                                                Area code and phone:     3172221997

                                                Area code and fax:

                                                E-mail address:          rworden@taylorwordenlaw.com

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for the
Debtor(s) certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
those contained in the form plan adopted by this Court, other than any nonstandard provisions included
in paragraph 15.




                                                     5
